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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 17-7496-MWF (ASx)                  Date: July 3, 2018
 Title:   Universal City Studios Productions LLLP, et al. v. TickBox TV LLC

 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                             Court Reporter:
           Rita Sanchez                              Not Reported

           Attorneys Present for Plaintiff:          Attorneys Present for Defendant:
           None Present                              None Present

 Proceedings (In Chambers): ORDER RE: PLAINTIFFS’ MOTION FOR LEAVE
                            TO FILE FIRST AMENDED COMPLAINT AND TO
                            EXTEND DISCOVERY CUTOFF [51]

       Before the Court is Plaintiffs’ Motion for Leave to File First Amended
 Complaint and to Extend Discovery Cutoff (the “Motion”), filed on June 4, 2018.
 (Docket No. 51). On June 18, 2018, Defendant TickBox TV LLC (“TickBox”) filed
 an Opposition. (Docket No. 52). On June 25, 2018, Plaintiffs filed a Reply. (Docket
 No. 53).

       Plaintiffs noticed the Motion to be heard on July 9, 2018. The Court has read
 and considered the papers on the Motion and deems the matter appropriate for decision
 without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. The hearing is
 therefore VACATED and removed from the Court’s calendar.

       Through its proposed First Amended Complaint, which does not contain any
 new claims for relief, Plaintiffs seek to add Jeffrey Goldstein and Carrla Goldstein –
 TickBox’s owners – as defendants, and to extend the discovery deadline, which is
 currently June 4, 2018.

        Plaintiffs commenced this action on October 13, 2017. On December 7, 2017,
 Plaintiffs filed a motion for a preliminary injunction. (Docket No. 28). TickBox filed
 its Answer on December 8, 2017 and an opposition to the preliminary injunction
 motion on December 28, 2017. (Docket Nos. 29, 34). On January 30, 2018, following

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 a hearing, the Court granted Plaintiffs’ preliminary injunction motion, and on February
 13, 2018, the Court entered a stipulated preliminary injunction. (Docket Nos. 40, 44).

        The parties filed a joint Rule 26(f) report on January 29, 2018 and, pursuant to
 the Court’s instruction, an amended Rule 26(f) report on March 21, 2018. (Docket
 Nos. 39, 47, 48). On April 13, 2018, following receipt of the amended 26(f) report and
 without holding a scheduling conference, the Court entered a scheduling order.
 (Docket No. 50). In accordance with the parties’ proposal, the scheduling order set
 June 4, 2018 as the deadline for the completion of non-expert discovery. (Id.). Given
 the fast-approaching discovery and other deadlines under the parties’ relatively
 aggressive proposed pre-trial schedule, the Court indicated that there would be “[n]o
 further amendments” to the pleadings. (Id.).

         As TickBox correctly points out, since Plaintiffs filed the Motion after the time
 permitted under the scheduling order (which was effectively never), the Court must
 treat the Motion as both a motion to modify the scheduling order and as a motion to
 file the proposed First Amended Complaint.

        Rule 16 provides that a party seeking to modify a court’s scheduling order must
 show “good cause” for doing so. Fed. R. Civ. P. 16(b)(4); see Coleman v. Quaker
 Oats Co., 232 F.3d 1271, 1294 (9th Cir. 2000) (explaining that Rule 16 is the proper
 standard where the court “had filed a pretrial scheduling order that established a
 timetable for amending the pleadings, and the deadline had expired before [plaintiffs]
 moved to amend.”); Primerica Life Ins. Co. v. Rodriguez, No. 11-7074 CAS (PLAx),
 2012 WL 893486, at *1 (C.D. Cal. Mar. 14, 2012) (“[O]nce the scheduling order is in
 place, the court must modify the scheduling order to permit an amendment.” (citations
 omitted)). The Rule 16 “good cause” standard “primarily considers the diligence of
 the party seeking the amendment.” Coleman, 232 F.3d at 1294; see also Johnson v.
 Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992) (“Although the
 existence or degree of prejudice to the party opposing the modification might supply
 additional reasons to deny a motion, the focus of the inquiry is upon the moving


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 party’s reasons for seeking modification… If that party was not diligent, the inquiry
 should end.”).

        Despite TickBox’s arguments to the contrary, the Court perceives no serious
 lack of diligence on Plaintiffs’ part with respect to seeking to add the Goldsteins as
 defendants. While it is clear that Plaintiffs have been aware of the Goldsteins’
 existence for several months, TickBox just made its first and only document
 production on June 14, 2018, and some of those documents seemingly evidence the
 Goldsteins’ personal involvement in the allegedly infringing activity at the heart of this
 lawsuit. (See Klaus Reply Decl. ¶¶ 5-7). Rather than a lack of diligence, it appears
 that Plaintiffs find themselves in their present position because they agreed to a highly
 ambitious – perhaps unrealistically so – pretrial schedule. The Court will not hold the
 parties to that schedule, particularly where Plaintiffs may have viable claims against
 the Goldsteins and it makes much more sense to join them in this lawsuit rather than
 forcing Plaintiffs to file a separate lawsuit against them.

       Accordingly, the Court finds that there is good cause to issue an amended
 scheduling order that permits Plaintiffs to file their proposed First Amended Complaint
 and that modestly extends the discovery and other pre-trial deadlines.

        Having determined that there is good cause to adjust the scheduling order, the
 Court turns briefly to Rule 15(a)(2), which provides that a “party may amend its
 pleading . . . [with] the court’s leave,” and that “[t]he court should freely give leave
 when justice so requires.” Fed. R. Civ. Proc. 15(a)(2). “The standard for granting
 leave to amend is generous.” U.S. v. Corinthian Colleges, 655 F.3d 984, 995 (9th Cir.
 2011) (internal quotation marks and citation omitted). “The court considers five
 factors in assessing the propriety of leave to amend – bad faith, undue delay, prejudice
 to the opposing party, futility of amendment, and whether the plaintiff has previously
 amended the complaint.” Id.

        In its Opposition, TickBox focuses exclusively upon the propriety of amending
 the schedule order under the Rule 16 “good cause” standard and makes no arguments
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 that leave to amend is inappropriate under Rule 15’s quite liberal standards. In light of
 TickBox’s lack of opposition on this issue, and upon consideration of the relevant
 factors that the Ninth Circuit has instructed district courts to consider, the Court finds
 that leave to amend is warranted.

       Accordingly, the Motion is GRANTED.

       Plaintiffs shall file their First Amended Complaint by July 6, 2018.

       The Court will issue an amended scheduling order that extends the non-expert
 discovery deadline to September 10, 2018 and adjusts other dates accordingly.

       IT IS SO ORDERED.




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